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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                           GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                 CASE NO.: 1:05-CR-001-SPM

FARRAH MOISE,

     Defendants.
__________________________________/

 ORDER DIRECTING GOVERNMENT TO FILE IN CAMERA STATEMENT OF
          REASONS FOR MOTION TO DISMISS INDICTMENT

       THIS CAUSE comes before the Court upon the “Motion to Dismiss” (doc.

94) filed September 8, 2005, in which the Government requests that the

indictment as to defendant Moise be dismissed “in the interest of justice.”

Pursuant to Federal Rule of Criminal Procedure 48(a), the Government may, with

leave of court, dismiss an indictment. The requirement of leave of court was

“intended to clothe the federal courts with a discretion broad enough to protect

the public interest in the fair administration of criminal justice.” United States v.

Cowan, 524 F.2d 504, 512 (5th Cir. 1975). In order to fulfill the purposes of the

rule, “the trial court at the very least must know the prosecutor's reasons for

seeking to dismiss the indictment and the facts underlying the prosecutor's
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decision.” United States v. Derr, 726 F.2d 617, 619 (10th Cir. 1984). As noted

by the court in United States v. Ammidown, 497 F.2d 615, “in the exercise of its

responsibility, the court will not be content with a mere conclusory statement by

the prosecutor that dismissal is in the public interest, but will require a statement

of reasons and underlying factual basis.” Id. at 620. The court must be satisfied

that the “reasons for the proposed dismissal are substantial.” Id.

       Requiring the Government to submit an in camera written statement of

reasons for the proposed dismissal is an appropriate course of conduct for the

court to follow. Id. at n.10 (citing United States v. Shanahan, 168 F.Supp.

225-229 (S.D. Ind.1958); United States v. Doe, 101 F.Supp. 609, 611

(D.Conn.1951)). Such a statement protects the Government from prejudice while

providing the court with the information it needs to use its discretion wisely.

       Accordingly, it is

       ORDERED AND ADJUDGED that on or before October 5, 2005, the

Government shall submit to the Court in camera a written statement of its

reasons in support of moving to dismiss the indictment against defendant Moise.

The Court will review the reasons and render an order shortly thereafter.

       DONE AND ORDERED this twenty-ninth day of September, 2005.


                                      s/ Stephan P. Mickle
                                    Stephan P. Mickle
                                    United States District Judge

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